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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

                 v.                                          CASE NO. 22-mj-22 (RMM)

ILYA LICHTENSTEIN and

HEATHER MORGAN,

                       Defendants.


                                       CIP A § 4 ORDER


       UNCLASSIFIED ORDER APPROVING SUMMARIES OF CLASSIFIED
  INFORMATION AND APPROVING DELETION OF CLASSIFIED INFORMATION
    FROM DISCOVERY, ALL PURSUANT TO CIPA § 4 AND FEDERAL RULE OF
                     CRIMINAL PROCEDURE 16(d)(l)


       This matter has come before the Court on the Government's First Classified In Camera,

Ex Parte Motion for an Order Pursuant to § 4 of the Classified Information Procedures Act (CIPA)

and Rule 16(d)(l ) of the Federal Rules of Criminal Procedure, filed N ovember 18, 2022 (First

CIPA Motion). Having reviewed the government's First CIPA Motion and attachments and the

relevant law, and being fully advised in the premises, the Court concludes that good cause exists

for granting the motion of the United States. After ex parte, in camera inspection and consideration

of the government's motion and attachments, the Court concludes that:

       1.       Defendants Ilya Lichtenstein and Heather Morgan are charged in the complaint

with one count of Money Laundering Conspiracy, in violation of 18 U.S.C. § 1956(h), and one

count of Conspiracy to Defraud the United States, in violation of 18 U.S.C. § 371.
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        1.       The First CIPA Motion is hereby GRANTED.

       2.        The classified summaries of the Classified Information for Substitution may be

provided to cleared defense counsel in lieu of the underlying classified documents.

       3.       The Classified Information for Deletion shall be deleted from discovery and shall

not be disclosed to Defendants, their counsel, or the public.


       4.       The First CIPA Motion and all the declaration(s) and exhibit(s) filed in support of

this motion are hereby SEALED and shall be retained in accordance with established security

procedures until further order of this Court.

SO ORDERED this 14th day of December, 2022.




                                                BERYL A. HOWELL
                                                UNITED STATES DISTRICT JUDGE
